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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
______________________________________
                                             :
Kenneth Peters,                              :
                                             : Civil Action No.: 1:11-cv-11263
                                             :
                      Plaintiff,             :
      v.                                     :
                                             :
GC Services, L.P.; and DOES 1-10, inclusive, :
                                             :
                      Defendant.             :
______________________________________ :
                                             :
                                STIPULATION OF DISMISSAL

       WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

the complaint in this action, and have negotiated in good faith for that purpose; and

       WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

person; and

       WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby dismissed against GC Services, L.P. with prejudice, without costs to any party and

waiving all rights of appeal.

 Kenneth Peters                                GC Services, L.P.

 ___/s/ Sergei Lemberg__________               ___/s/ Andrew Schneiderman______

 Sergei Lemberg, Esq.                          Andrew Schneiderman, Esq.
 BBO No.: 650671                               BBO No.: 666252
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 (203) 653-2250                                (617) 213-7000
 Attorney for Plaintiff                        Attorney for Defendant

_____________________________
SO ORDERED
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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 28, 2011, a true and correct copy of the foregoing
Stipulation of Dismissal was served electronically by the U.S. District Court for the District of
Massachusetts Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                             By_/s/ Sergei Lemberg_________

                                                     Sergei Lemberg




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